Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 1 of 23. PageID #: 66657



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION



    IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
          OPIATE LITIGATION
         This document relates to:                   Case No. 17-md-2804
             Track One Cases
                                                    Hon. Dan Aaron Polster




    BRIEF IN SUPPORT OF TEVA AND ACTAVIS GENERIC DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT
 Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 2 of 23. PageID #: 66658


                                                TABLE OF CONTENTS

                                                                                                                                     Page


I.     INTRODUCTION ............................................................................................................. 1
II.    BACKGROUND ............................................................................................................... 4
       A.        The Moving Defendants. ....................................................................................... 4
       B.        The Teva Defendants Only Promoted Two Short-Acting Opioid
                 Medicines—Actiq and Fentora. ............................................................................. 5
       C.        Throughout The Limitation Period, Prescribers And Patients Had To
                 Certify Awareness Of The Risks And Unique Indications Of Actiq And
                 Fentora. .................................................................................................................. 6
       D.        Plaintiffs Have Not Identified Any False Or Misleading Statements By
                 The Moving Defendants. ....................................................................................... 7
       E.        Plaintiffs Rely Upon Allegations Of Off-Label Promotion And A Plea
                 Agreement Regarding Cephalon Conduct In 2001. ............................................... 7
       F.        The Teva Defendants Have Long Operated One Of The Most Robust
                 Compliance Programs In The Industry. ................................................................. 8
       G.        The Teva Defendants Did Not Control Any Third Party Statements. ................... 9
       H.        The Moving Defendants Complied With DEA Regulations. ................................ 9
III.   ALL FALSE MARKETING CLAIMS (COUNTS I, III, AND V–X) FAIL. ................. 10
       A.        Plaintiffs Have No Evidence Of Any False Marketing By The Teva
                 Defendants In Cuyahoga Or Summit County. ..................................................... 10
       B.        Plaintiffs Lack Any Evidence To Show That Any Marketing By The Teva
                 Defendants Caused Them Any Harm. ................................................................. 12
       C.        Plaintiffs Fail To Identify Any Injury Attributable To The Teva
                 Defendants. .......................................................................................................... 14
IV.    THE SOM CLAIMS (COUNTS II, IV–VII, IX–XI) AGAINST THE MOVING
       DEFENDANTS FAIL. .................................................................................................... 15
V.     THE CLAIMS ARE BARRED BY THE APPLICABLE STATUTE OF
       LIMITATIONS. ............................................................................................................... 17
VI.    CONCLUSION ................................................................................................................ 17




                                                                  -i-
 Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 3 of 23. PageID #: 66659




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

CASES

In re Actimmune Mktg. Litig.,
    614 F. Supp. 2d 1037 (N.D. Cal. 2009) ...................................................................................11

Batzel v. Smith,
   333 F.3d 1018 (9th Cir. 2003) .................................................................................................12

Berisford v. Sells,
   331 N.E.2d 408 (Ohio 1975)..............................................................................................12, 14

In re Bextra & Celebrex Mktg. Sales Practices & Prod Liab. Litig.,
    2012 WL 3154957 (N.D. Cal. 2012) .......................................................................................14

Buckman Co. v. Plaintiffs’ Legal Comm.,
   531 U.S. 341 (2001) .................................................................................................................15

Cent. Reg’l Emps. Ben. Fund v. Cephalon, Inc.,
   No. 09-3418 MLC, 2009 WL 3245485 (D.N.J. Oct. 7, 2009).................................................11

Cent. Reg’l Emps. Ben. Fund v. Cephalon, Inc.,
   No. 09-3418 MLC, 2010 WL 1257790 (D.N.J. Mar. 29, 2010) ..............................................11

City of Cincinnati v. Deutsche Bank Nat’l Tr. Co.,
    863 F.3d 474 (6th Cir. 2017) .............................................................................................12, 14

City of Cleveland v. Ameriquest Mortg. Secs., Inc.,
    615 F.3d 496 (6th Cir. 2010) .............................................................................................12, 14

In re ClassicStar Mare Lease Litig.,
    727 F.3d 473 (6th Cir. 2013) ...................................................................................................12

Holmes v. Sec. Investor Prot. Corp.,
   502 U.S. 258 (1992) .................................................................................................................14

Holmes v. Sec. Investor Prot. Corp.,
   503 U.S. 258 (1992) .................................................................................................................13

Ind./Ky./Ohio Reg’l Council of Carpenters Welfare Fund v. Cephalon, Inc.,
    No. 13-7167, 2014 WL 2115498 (E.D. Pa. May 21, 2014) .....................................................11

McWilliams v. S.E., Inc.,
  581 F. Supp. 2d 885 (N.D. Ohio 2008)....................................................................................11


                                                                  -ii-
 Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 4 of 23. PageID #: 66660



Pang v. Minch,
   559 N.E.2d 1313 (Ohio 1990)..................................................................................................13

Picklesimer v. Balt. & O. R. Co.,
   84 N.E.2d 214 (Ohio 1949)......................................................................................................14

Protostorm, LLC v. Antonelli, Terry, Stout & Krous, LLP,
   834 F. Supp. 2d 141 (E.D.N.Y. 2011) .....................................................................................12

Sorrell v. IMS Health Inc.,
   564 U.S. 552 (2011) ...................................................................................................................7

Taylor v. Checkrite, Ltd.,
   627 F. Supp. 415 (S.D. Ohio 1986) .........................................................................................12

Travelers Indem. Co. v. Cephalon, Inc.,
   32 F. Supp. 3d 538, 552 (E.D. Pa. 2014), aff’d, 620 F. App’x 82 (3d Cir. 2015) ...................11

Travelers Indem. Co. v. Cephalon, Inc.,
   620 F. App’x 82 (3d Cir. 2015) ...............................................................................................13

United States v. Caronia,
   703 F.3d 149 (2d Cir. 2012)...........................................................................................7, 11, 15

STATUTES

21 U.S.C. § 355-1 ............................................................................................................................6

21 U.S.C. § 826(a)–(c) ...................................................................................................................10

21 U.S.C. § 826(C) ........................................................................................................................10

21 C.F.R. § 208.24 ...........................................................................................................................6

21 C.F.R. § 1301.74(b) ..................................................................................................................10




                                                                    -iii-
    Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 5 of 23. PageID #: 66661



I.       INTRODUCTION

         Cephalon, Inc. (“Cephalon”) and Teva Pharmaceuticals USA, Inc. (“Teva USA”) present

this Court with a very different situation—one that compels summary judgment in their favor on

all claims.1 The companies have only promoted two specialized branded Schedule II opioid

medicines (Actiq and Fentora). Both medications are unique. Both are FDA-approved for treating

cancer patients suffering from breakthrough pain—sharp spikes of severe pain that break through

the relief provided by the patient’s existing opioid medications. Both are indicated only for opioid-

tolerant patients—patients who already have been taking opioids to treat their pain. And both are

short-acting—they provide immediate, tailored relief to address the breakthrough pain. Thus,

Actiq and Fentora share little in common with the long-acting opioid medicines designed to treat

long-term chronic pain that Plaintiffs contend are the “driving force” of the opioid abuse crisis.2

         In addition, because of their specific indication and potency, Actiq and Fentora have long

been subject to unique FDA-mandated risk mitigation programs. Those programs ensure that

prescribing doctors, their patients, pharmacists, and distributors are informed of the risks, labeled

indications, and proper administration of these products. Not surprisingly, given their narrow

indication, Actiq and Fentora are not widely prescribed—they reflect less than .03% of all opioid

prescriptions in Cuyahoga and Summit Counties (the “Counties”) from 2006 to 2016. For

example, in 2016, there were 0 prescriptions of either Actiq or Fentora in Summit County, and just

20 prescriptions of Fentora in Cuyahoga County (and no Actiq prescriptions).

         The Actavis Generic Defendants (who first became affiliated with the Teva Defendants in



1
  Cephalon and Teva USA are referred to as the “Teva Defendants.” Watson Laboratories, Inc., Actavis LLC, Actavis
Pharma, Inc., Warner Chilcott Company, LLC, Actavis South Atlantic LLC, Actavis Elizabeth LLC, Actavis Mid
Atlantic LLC, Actavis Totowa LLC, Actavis Kadian LLC, Actavis Laboratories UT, Inc. f/k/a Watson Laboratories,
Inc.-Salt Lake City, and Actavis Laboratories FL, Inc., f/k/a Watson Laboratories, Inc.-Florida are collectively referred
to as the “Actavis Generic Defendants.”
2
  See, e.g., Ex. 12, M. Schumacher Report, ¶ 58.

                                                          -1-
    Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 6 of 23. PageID #: 66662



2016) also present a very different situation—which, likewise, compels summary judgment in their

favor. They did not promote the safety or efficacy of their opioid medicines in Ohio or elsewhere.3

And like the Teva Defendants, the Actavis Generic Defendants complied with all suspicious order

monitoring and reporting requirements.              Further, they sold quantities of opioids within the

production quotas set by the DEA as necessary to meet the legitimate therapeutic needs of the

country.4 As a matter of law, the Teva and Actavis Generic Defendants cannot be held liable for

lawfully selling lawful products in lawful amounts, regardless of any unlawful conduct by others.

         Notwithstanding these uncontroverted facts, Plaintiffs seek to impose liability on the Teva

and Actavis Generic Defendants (the “Moving Defendants”) for the tragic abuse of prescription

and illicit opioids in the Counties. All of Plaintiffs’ claims fall under two overarching theories of

liability—that Defendants: (1) falsely marketed opioids to physicians;5 and (2) failed to identify,

report and stop shipment of suspicious orders.6 But while Plaintiffs chose to plead these claims

by lumping together all manufacturers, opioid medicines, and prescriptions, Plaintiffs cannot prove

them in the aggregate. As a matter of law (and basic due process), Plaintiffs must provide

individualized proof that each Defendant engaged in wrongdoing that caused Plaintiffs a

cognizable harm.7 The factual record shows there is no such proof as to the Moving Defendants.

         False Marketing Claims. Plaintiffs’ false marketing theory fails for the simple reason that




3
  The Actavis Generic Defendants have filed a separate motion for summary judgment (“Generic MSJ”), together
with other generic manufacturers, explaining that the false marketing claims against them and Teva USA (prior to
2011) fail because they: (a) sold only generic medicines and did not promote them; (b) any failure to warn claims are
preempted; and (c) they cannot be held responsible for the allegedly fraudulent conduct of others and for merely
selling their FDA-approved medicines. (ECF No. 1749.)
4
  To the extent Plaintiffs contend that some Defendants defrauded the DEA into setting inappropriate quotas, there is
no evidence that any Teva or Actavis Generic Defendant did so, and such claims would be preempted in any event as
set forth in Manufacturers’ Joint Motion for Summary Judgment on Preemption (ECF No. 1760).
5
  Summit 3AC ¶¶ 227, 345, 393, 424; Cuyahoga 3AC ¶¶ 215, 333, 381, 412.
6
  Summit 3AC ¶¶ 493–525; Cuyahoga 3AC ¶¶ 480–509.
7
  See Manufacturers’ Memorandum of Law in Support of Motion for Summary Judgment for Plaintiffs’ Failure to
Offer Proof of Causation (“Causation Brief”) (ECF No. 1771).

                                                        -2-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 7 of 23. PageID #: 66663



there is no evidence that the Moving Defendants engaged in any false marketing. Plaintiffs have

failed to adduce any evidence of false statements made to physicians regarding Actiq and Fentora.

And although Plaintiffs also try to blame the Teva Defendants for various cherry-picked statements

in third-party publications by organizations that received some funding by Cephalon (and none of

the other Moving Defendants), the uncontroverted evidence establishes that those third parties

independently created their publications, and signed agreements specifying that Cephalon did not

control the content of what they said or wrote. Further, the undisputed record shows that Actavis

Generic Defendants did not promote their products, much less do so falsely.

       Plaintiffs also have no evidence of causation: they have no testimony from a single Ohio

prescriber showing that he or she was misled by any statement or omission attributable to any of

the Teva or Actavis Generic Defendants into writing a single opioid prescription—much less one

that was medically inappropriate. To the contrary, they could not have been misled as to Actiq or

Fentora. Throughout the limitation period, prescribers have had to comply with the stringent

requirements of a heightened FDA-mandated Risk Evaluation and Mitigation Strategy (“TIRF

REMS Program”) before writing a prescription for Actiq or Fentora. Each doctor must pass a

knowledge test about the risks of these medicines, review the FDA-approved medication guides

for Actiq and Fentora with the patient, and sign an agreement (with the patient) that she

understands and has counseled her patient about the risks and approved uses of Actiq and Fentora.

       Plaintiffs also cannot show a cognizable injury—a necessary element of each of their

claims. Plaintiffs concede that they have no evidence of a single Ohio resident harmed by any

prescription of Actiq, Fentora, or any other opioid sold by the Moving Defendants.

       Suspicious Order Monitoring Claims. Plaintiffs assert that the Moving Defendants had a

duty to identify, report, and stop allegedly “suspicious” opioid orders placed by pharmacies in



                                               -3-
 Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 8 of 23. PageID #: 66664



Ohio. But pharmacies purchase opioid medicines from distributors—not manufacturers. There is

no requirement in any law or agency guidance requiring manufacturers to identify, report, or refuse

orders placed by their customers’ customers (the pharmacies), as opposed to the manufacturer’s

customers (the distributors). Testimony from DEA agents and Plaintiffs’ own experts confirm

this. Instead, as common sense would dictate, distributors are the ones who must have procedures

in place to monitor the purchases of their customers.

       Regardless, there is no evidence that any alleged duty was violated. Neither Plaintiffs nor

their experts have adduced a single shred of evidence showing that a single order (for an opioid

shipment into the Counties) placed with the Moving Defendants was “suspicious,” should have

been reported or stopped, or resulted in any actual diversion. In fact, Plaintiffs have not come

forward with a shred of evidence to show that any order filled by the Moving Defendants (for an

opioid shipment into the Counties) was diverted, abused, caused anyone to become addicted,

infringed a public right, or caused Plaintiffs to incur some expense.

       On this record, summary judgment is required.

II.    BACKGROUND

       A.      The Moving Defendants.

       Cephalon manufactures and sells two branded products: Actiq and Fentora. (Summit 3AC,

¶ 70; Cuyahoga 3AC, ¶ 63.) Cephalon began selling Actiq in 2001 and Fentora in 2006. (Ex. 5,

2000 SEC Form 10-k; Ex. 58, Fentora Approval Letter.) Teva USA first became affiliated with

Cephalon in 2011. (Summit 3AC, ¶ 69; Cuyahoga 3AC, ¶ 62.) Before then, Teva USA sold only

generic opioid medicines, but has never promoted their safety or efficacy. (Ex. 54, C. Beader

Decl., ¶¶ 3–4.) Cephalon and Teva USA are separate, indirect subsidiaries of Teva Pharmaceutical

Industries Ltd. (“Teva Ltd.”). (Ex. 56, H. West Decl., ¶ 6.) Teva Ltd. is an Israeli corporation that



                                                -4-
    Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 9 of 23. PageID #: 66665



has never marketed, distributed, or manufactured opioids anywhere, let alone in Ohio.8 (Id., ¶ 2–

3; Ex. 3, D. Herman Dep., 196:1–4.)

         The Actavis Generic Defendants became affiliated with Teva USA in August 2016.

(Summit 3AC, ¶ 69; Cuyahoga 3AC, ¶ 50.) The Actavis Generic Defendants likewise have never

promoted the safety or efficacy of their generic opioid medicines. (Ex. 4, M. Perfetto Dep.,

315:18–19; id. 316:13–317:1; Ex. 57, D. Myers Decl., ¶ 4; Exs. 1–2; Generic MSJ, ECF No. 1749.)

         B.      The Teva Defendants Only Promoted Two Short-Acting Opioid Medicines—
                 Actiq and Fentora.

         Actiq is a unique short-acting prescription opioid approved by the FDA for the

“management of breakthrough cancer pain in patients with malignancies who are already receiving

and who are tolerant to opioid therapy for their underlying persistent cancer pain.” (Ex. 59, Actiq

Label.) The package insert (label) for Actiq, which is provided to every patient to whom it is

prescribed, has always included explicit safety and risk warnings—and pre-dating the limitation

period (October 27, 2012 to the present), a boxed warning. That warning discloses the risks of

abuse, addiction, overdose, and death. (Id.) Cephalon promoted Actiq from 2001 to 2006—and

not since. (Ex. 5; Ex. 6, at TEVA_MDL_A_00283253.)

         Cephalon obtained approval for Fentora in 2006. (Ex. 58, Approval Letter.) Fentora is

also a short-acting opioid indicated to treat “breakthrough pain in patients with cancer” who are

opioid tolerant. (Ex. 7, Fentora Label.) The package insert for Fentora also comes with extensive

risk disclosures, including a boxed warning that warns of abuse, addiction, overdose, and death.

(Id.) Like Actiq, Cephalon no longer promotes Fentora. (Ex. 8, J. Hassler Dep., 43:22–44:1.)

         Because of their unique indications, Actiq and Fentora are rarely prescribed. (See Ex. 9,


8
  Teva Ltd. has challenged personal jurisdiction and moved to dismiss all claims against it. (ECF No. 1264.) That
motion remains pending. In any event, Plaintiffs have alleged no independent conduct against Teva Ltd., and
summary judgment in its favor is appropriate for the same reasons.

                                                      -5-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 10 of 23. PageID #: 66666



S. Nicholson Report, ¶ 13; id., Ex. 1.) They represent less than .03% of all opioids prescribed in

Cuyahoga and Summit Counties since 2006. (Id., ¶ 43.) Indeed, there have been years in which

no prescription for either drug was written in either County. (Id., ¶ 42 (citing IMS/Exponent data).)

       C.      Throughout The Limitation Period, Prescribers And Patients Had To Certify
               Awareness Of The Risks And Unique Indications Of Actiq And Fentora.

       Since March 2012, prescribers choosing to prescribe Actiq or Fentora—and patients

choosing to take them—have had to comply with the stringent requirements of the TIRF REMS

Program before a prescription of these medicines can be dispensed. See 21 U.S.C. § 355-1

(governing REMS programs); Ex. 10, TIRF REMS Program; Ex. 11, E. Michna Report, ¶¶ 68–

87.) For prescribing physicians, these requirements include:

           Knowledge Test. Each prescriber must review educational materials and successfully
            pass a knowledge assessment before being eligible to prescribe Actiq and Fentora.
            (Ex. 10, TIRF REMS Program ¶ II(B)(1)(b)(i); see also id. at 51–53.) The prescriber
            must certify that she understands the “responsible use conditions for TIRF medicines
            and the risks and benefits of chronic opioid therapy.” (Ex. 10, TIRF REMS Program
            ¶ II(B)(1)(b)(i). (emphases added).)

           Patient-Provider Agreement. Both patient and prescriber must sign a TIRF REMS
            Patient-Prescriber Agreement Form (“Patient Agreement”) before the patient’s first
            prescription. (Id., ¶ II(B)(1)(b)(ii).) The Patient Agreement requires patient and
            prescriber to acknowledge that they each understand the risks, consequences, and
            approved uses of TIRF medicines; indeed, the prescriber must expressly certify that
            she has “counseled [the] patient or their caregiver about the risks, benefits, and
            appropriate use of the TIRF medicine.” (Id.; see also id. at 54–56.)

           Medication Guide. An FDA-approved medication guide must be provided to the
            patient before the medication is dispensed. See 21 C.F.R. § 208.24 (imposing
            requirement); Ex. 10, TIRF REMS Program ¶ II(A). The medication guide conveys
            the approved indications, the contra-indications, and the FDA-approved risk
            language—which makes clear that TIRF medicines can put patients at risk for
            addiction, abuse, misuse, overdose, and death, even when used properly. (Id.)

Distributors and pharmacists also must adhere to TIRF REMS Program requirements designed to

prevent diversion, and to ensure their full familiarity with the risks and appropriate uses of these

medications. (Ex. 11, E. Michna Report, ¶¶ 70–71.) Plaintiffs have failed to adduce any evidence

                                                -6-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 11 of 23. PageID #: 66667



that anyone failed to comply with these requirements with regard to Actiq or Fentora.

        D.       Plaintiffs Have Not Identified Any False Or Misleading Statements By The
                 Moving Defendants.

        None of Plaintiffs’ alleged marketing experts identify any false statements by the Moving

Defendants, much less any such statements related to Ohio or which misled Ohio prescribers.

Indeed, two of Plaintiffs’ experts do not even mention the Moving Defendants. (Ex. 12, M.

Schumacher Dep., 84:17–14; id. 103:6–105:11 (stating that he cannot identify any false statements

made by Moving Defendants and “do[es] not have evidence for these companies”); Ex. 13, A.

Lembke Dep., 391:16-396:6 (no reference to Moving Defendants in Appendix I of report, which

purports to identify misleading statements by Defendants).) Another of Plaintiffs’ marketing

experts was simply told to assume all marketing was false. (Ex. 14, M. Perri Report, ¶ 154.)

        E.       Plaintiffs Rely Upon Allegations Of Off-Label Promotion And A Plea
                 Agreement Regarding Cephalon Conduct In 2001.

        Rather than coming forward with any evidence of false or misleading statements, Plaintiffs

rely upon the fact that, in 2008, Cephalon (not Teva USA) pled guilty to a misdemeanor for the

off-label promotion of Actiq (and other non-opioid medicines) during an eight-month period in

2001. 9 This is more than a decade prior to the longest potential limitation period.10 Further, the

plea only involved off-label promotion. There was no allegation or admission of any false

marketing. It is well-settled that off-label promotion is not inherently “false or misleading,” United

States v. Caronia, 703 F.3d 149, 165 (2d Cir. 2012), and may be protected by the First Amendment.

Id. at 169; see also Sorrell v. IMS Health Inc., 564 U.S. 552, 557 (2011).


9
   See Ex. 49, Plea Agreement, at ¶ (A)(8). Dr. Kessler, for instance, opines that Cephalon engaged in off-label
promotion, but fails to connect any promotion to Ohio and addresses no conduct after 2008. (Ex. 15, D. Kessler
Report, ¶ 474 (Actiq); id., ¶ 493 (Fentora).) Similarly, Dr. Egilman opines about the Cephalon plea agreement, but
he did not review and analyze even a single off-label statement. (Ex. 16, D. Egilman Report, § 7.27; Ex. 17, D.
Egilman Dep., Apr. 24, 2019, 231:6–12.)
10
   Moving Defendants filed a partial summary judgment motion based upon the applicable statutes of limitations,
which, at a minimum, bar claims based upon any alleged conduct prior to October 27, 2012. (ECF No. 1691.)

                                                       -7-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 12 of 23. PageID #: 66668



          F.     The Teva Defendants Have Long Operated One Of The Most Robust
                 Compliance Programs In The Industry.

          Prior to and during the relevant limitations period, Cephalon and Teva followed stringent

marketing safeguards designed to ensure full compliance with all applicable laws and regulations

related to the promotion and sale of their products. (Ex. 54, P. Glover Decl., ¶¶ 4-7.) Cephalon

enacted significant compliance policies and procedures to ensure the truthful and on-label

promotion of their products, and the appropriate and legally compliant use of key opinion leaders

and grants to third parties.11 Internal committees reviewed and approved promotional materials

pertaining to Actiq and Fentora prior to use.12 Any reported violations were investigated and,

where appropriate, the Company took disciplinary measures.13 In 2007, Cephalon hired the former

Pennsylvania Attorney General (and now U.S. District Court Judge) Gerald Pappert as its General

Counsel, and a federal health care prosecutor as its Chief Compliance Officer.14

          As a result of the very 2008 misdemeanor plea cited by Plaintiffs, Cephalon entered into a

five-year Corporate Integrity Agreement (“CIA”)—which resulted in further enhancements to its

compliance program, procedures, and committees. (Ex. 8, J. Hassler Dep., 703:18–706:15; Ex.

19, M. Day Dep., 50:20–51:14; Ex. 18, H. Dorfman Report, ¶¶ 71–83.) Independent companies

were retained to conduct comprehensive audits of Cephalon’s compliance programs and marketing

during the CIA period (from 2008 to 2012), including with respect to promotional messaging. (Ex.

18, H. Dorfman Report, ¶¶ 89–91.) Cephalon passed each audit. (Id., ¶ 84.) Annual reports were

submitted to the Office of Inspector General (“OIG”) detailing the company’s compliance efforts.

Each year, the OIG found those legal compliance efforts sufficient.15


11
     See Ex. 18, H. Dorfman Report, ¶¶ 32–70.
12
     Id., ¶¶ 36–38.
13
     Id., ¶¶ 59–63.
14
     Id., ¶¶ 70.
15
     See, e.g., Ex. 21, TEVA_MDL_A_11891302; Ex. 22, TEVA_MDL_A_00782034.

                                                 -8-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 13 of 23. PageID #: 66669



         In early 2012, all of the Cephalon compliance policies were integrated with those of Teva

USA. (Ex. 54, P. Glover Decl., ¶¶ 4-5.) As a result, Cephalon and Teva USA have had one of the

most robust compliance programs in the industry throughout the limitations period. There is no

evidence of any false, misleading, or even off-label marketing in Ohio during that time. (Id. ¶ 4.).

         G.       The Teva Defendants Did Not Control Any Third Party Statements.

         Since long before the limitation period, Cephalon had policies in place to ensure the

independence of all CMEs and medical education programs;16 it did not direct the content of these

programs or any third-party publications. (Ex. 8, J. Hassler Dep., 322:18–323:10.) Indeed,

contracts to provide funding to these third party organizations made independence an express

condition of the funding.17 There is no evidence that these policies were not followed. On the

contrary, every “key opinion leader” deposed to date has testified that the Teva Defendants did not

influence the content of any of their programs or publications.18

         H.       The Moving Defendants Complied With DEA Regulations.

         The DEA—the entity responsible for regulating all opioid medicine production and

distribution—has full visibility into the market. (Ex. 30, K. Wright Dep., 170:2–14.) The DEA

sets different types of quotas (individual production and manufacturing quotas) based on the

Attorney General’s determination of the total quantity and production quotas for Scheduled



16
   See Ex. 23, US Policy205-Independent Medical Education Grants (August 2012), TEVA_MDL_A_00560932; Ex.
24, Independent Medical Education Grants Policy (January 26, 2009), TEVA_MDL_A_00785735; Ex. 25, C–126
Cephalon Policy on Company Giving (July 2008), TEVA_MDL_A_00785338; Ex. 26, Cephalon Policy on Third–
Party Grant Requests (January 2008), TEVA_MDL_A_00553027; Ex. 27, Marketing Policy on Grants, Effective June
2007, TEVA_MDL_A_00552919.
17
   See, e.g., Ex. 28, Independent Educational Program Grant Agreement with AAPM, TEVA_MDL_A_01169010
(Nov. 28, 2006) (Section 8(b) provides that “neither Cephalon nor its agents shall control the content of the Program”);
Ex. 29, Independent Educational Program Grant Agreement with MediCom Worldwide, Inc.,
TEVA_MDL_A_00502973 (Nov. 6, 2008) (Section 7(a) provides that “neither Cephalon nor its agents shall control
the content of the Program”).
18
   Ex. 31, R. Portenoy Dep., Jan. 24, 2019, 475:20–476:25; id. at 331:6–25; id. at 464:10–465:1; 467:25–468:6; id.
398:17–400:13; Ex. 32, L. Webster Dep., Feb. 18, 2019, 299:15–300:10; id. 375:7–17; id. 223:4–7; Ex. 33, S. Fishman
Dep., Feb. 26, 2019, 293:8–294:2; id. 80:10–82:6.

                                                          -9-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 14 of 23. PageID #: 66670



substances nationwide. 21 U.S.C. § 826(a)–(c). The Moving Defendants have always complied

with DEA quotas, which reflect an assessment not only of the overall market, but also of the

Moving Defendants’ business.19 Plaintiffs have failed to adduce any evidence to the contrary.

         The DEA also requires registrants to “design and operate a system to disclose to the

registrant suspicious orders of controlled substances.”20 DEA witnesses confirm that there has

never been an obligation for pharmaceutical manufacturers to: (1) report orders placed with other

companies (i.e., orders placed by pharmacies with distributors); (2) have a particular SOM system

in place; and (3) maintain written SOM policies.21

         The Moving Defendants always have had systems in place to flag and investigate

potentially suspicious orders placed with them. (Ex. 39, C. McGinn Dep., 225:10–227:11; Ex. 40

at ALLERGAN_MDL_02128514; Ex. 41, M. Woods Dep., 31:3–32:5; id., 53:9–22.) And the

DEA has never taken any enforcement action against the Teva or Actavis Generic Defendants.

(Ex. 38, K. Colder Report, 34 n.97.) Neither Plaintiffs nor their experts have identified a single

order for opioid medicines placed with the Moving Defendants that they contend was “suspicious.”

III.     ALL FALSE MARKETING CLAIMS (COUNTS I, III, AND V–X) FAIL.

         A.       Plaintiffs Have No Evidence Of Any False Marketing By The Teva
                  Defendants In Cuyahoga Or Summit County.

         To succeed on their false marketing claims,22 Plaintiffs must provide evidence of actual



19
   See 21 U.S.C. § 826(C) (“In fixing such quotas, the Attorney General shall determine the manufacturer’s estimated
disposal, inventory, and other requirements. . .”); see also Ex. 34, S. Harper-Avilla Dep., Apr. 11, 2019, 44:5–25.
20
    21 C.F.R. § 1301.74(b).
21
    See Ex. 35, T. Prevoznik Dep., 326:1–5, 358:21-359:1; Ex. 36, J. Rafalski Dep., 655:14–17; Ex. 37, L. Holifield
Report, p. 5, ¶ 3(c), (d) (“The only requirements related to ‘suspicious orders’ under the regulations is that a registrant
must implement a system to identify and report suspicious orders’ to DEA” and “[t]he regulations do not state that a
registrant must investigate ‘suspicious orders’ or halt them prior to shipment”); Ex. 38, K. Colder Expert Report, p.
11 (“DEA did not provide meaningful guidance to registrants seeking more information on how to comply with their
suspicious order monitoring obligations, leaving interpretation to the discretion of individual registrants.”).
22
    Summit 3AC, ¶ 879 (Count I), ¶ 946 (Count III), ¶ 990 (Count V), ¶ 1001 (Count VI), ¶ 1047 (Count VII), ¶ 1074
(Count VIII), ¶ 1094 (Count IX), ¶ 1110 (Count X); Cuyahoga TAC ¶ 923 (Count I), ¶ 988 (Count III), ¶ 1031 (Count
V), ¶ 1049 (Count VI), ¶ 1090 (Count VII), ¶ 1117 (Count VIII), ¶ 1137 (Count IX), ¶ 1152 (Count X).

                                                          -10-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 15 of 23. PageID #: 66671



misrepresentations or omissions by Cephalon and Teva USA. Plaintiffs, however, lack any

evidence of a single false statement made by the Teva Defendants in Ohio—much less one that

took place within the applicable limitation period (i.e., at least since October 2012).

        Apart from the lack of any evidence, Plaintiffs’ accusation that the Teva Defendants

engaged in a 20-year scheme to defraud ignores the undisputed facts. While Plaintiffs’ experts

contend that the “driving force of this national catastrophe has been the introduction and marketing

of long-acting formulations of high-potency opioids,”23 Teva Defendants did no such thing. They

only promoted two short-acting opioids approved to treat breakthrough cancer pain.

        Plaintiffs’ reliance on Cephalon’s long ago plea agreement for off-label promotion of Actiq

(and not Fentora) during an eighth-month period in 2001—more than 15 years before this case

was filed-—cannot support their fraudulent marketing claims or forestall summary judgment.

There is no evidence that any off-label marketing occurred in Ohio, much less within the applicable

limitations period. (Ex. 54, P. Glover Decl., ¶ 4.) Regardless, off-label marketing is not inherently

“false or misleading.” Caronia, 703 F.3d at 165; In re Actimmune Mktg. Litig., 614 F. Supp. 2d

1037, 1051 n.6 (N.D. Cal. 2009) (“[O]ff-label marketing of an approved drug is itself not

inherently fraudulent.”). For this very reason, courts have rejected similar fraud-based claims

against the Teva Defendants based upon identical allegations of off-label promotion.24

        Plaintiffs also seek to hold the Teva Defendants liable for statements made by third parties

partially funded by Cephalon.25 To do so, Plaintiffs must establish an agency relationship between

each Teva Defendant and each third party, see McWilliams v. S.E., Inc., 581 F. Supp. 2d 885, 893


23
   Ex. 12, Schumacher Report, at ¶ 58.
24
   See Travelers Indem. Co. v. Cephalon, Inc., 32 F. Supp. 3d 538, 552 (E.D. Pa. 2014), aff’d, 620 F. App’x 82 (3d
Cir. 2015); Ind./Ky./Ohio Reg’l Council of Carpenters Welfare Fund v. Cephalon, Inc., No. 13-7167, 2014 WL
2115498, at *5–7 (E.D. Pa. May 21, 2014); Cent. Reg’l Emps. Ben. Fund v. Cephalon, Inc. (“CREB II”), No. 09-3418
MLC, 2010 WL 1257790 (D.N.J. Mar. 29, 2010); Cent. Reg’l Emps. Ben. Fund v. Cephalon, Inc. (“CREB I”), No.
09-3418 MLC, 2009 WL 3245485 (D.N.J. Oct. 7, 2009).
25
   Summit TAC, ¶ 171; Cuyahoga TAC, ¶ 204.

                                                      -11-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 16 of 23. PageID #: 66672



(N.D. Ohio 2008), including the “right of control” by the principal. Taylor v. Checkrite, Ltd., 627

F. Supp. 415, 416–17 (S.D. Ohio 1986). Here, there is no evidence whatsoever that the Teva

Defendants exercised any “right of control” over any third-party organization or “key opinion

leader”—much less any of their publications.

        The evidence, in fact, proves the contrary: third-party organizations operated

independently of, and were not influenced by any funding from, the Teva Defendants. (Ex. 42, S.

Beckhardt Dep., 37:7–37:15; id., 43:11–43:21; id., 254:23–255:7; id., 367:5–367:16; id., 370:21–

371:2.)26 For instance, while Cephalon provided unrestricted education grants for third-party

organizations to use for publications and CMEs, the contracts at issue expressly provided that

“neither Cephalon nor its agents shall control the content of the Program.”27 That is exactly what

happened. (Ex. 8, J. Hassler Dep., 322:18–3:10; id., 326:13–327:5.)

        Similarly, Plaintiffs accuse the Teva Defendants of spreading misrepresentation through

“key opinion leaders,” like Drs. Portenoy, Fishman, and Webster. However, those witnesses

testified that they developed their opinions free of influence by the Teva Defendants.28

        B.       Plaintiffs Lack Any Evidence To Show That Any Marketing By The Teva
                 Defendants Caused Them Any Harm.

        Causation is an element of Plaintiffs’ claims.29 As set forth in the Causation Brief,



26
   See also Batzel v. Smith, 333 F.3d 1018, 1036 (9th Cir. 2003); Protostorm, LLC v. Antonelli, Terry, Stout & Krous,
LLP, 834 F. Supp. 2d 141, 162 (E.D.N.Y. 2011).
27
    See Ex. 42, S. Beckhardt Dep., Feb. 1, 2019, 37:7–37:15; id., 43:11–43:21; id., 254:23–255:7; id., 367:5–367:16;
id., 370:21–371:2; see also, e.g., Ex. 28, TEVA_MDL_A_01169010 (Nov. 28, 2006) (Section 8(b) provides that
“neither Cephalon nor its agents shall control the content of the Program”); Ex. 29, TEVA_MDL_A_00502973 (Nov.
6, 2008) (Section 7(a) provides that “neither Cephalon nor its agents shall control the content of the Program”).
28
   Ex. 31, R. Portenoy Dep., 475:20–476:25; id. at 331:6–25; id. at 464:10–465:1; 467:25–468:6; id. 398:17–
400:13; Ex. 32, L. Webster Dep., 299:15–300:10; id. 375:7–17; id. 223:4–7; Ex. 33, S. Fishman Dep., Feb. 26,
2019, 293:8–294:2; id. 80:10–82:6; Ex. 43, TEVA_MDL_A_01088845.
29
    See In re ClassicStar Mare Lease Litig., 727 F.3d 473, 487 (6th Cir. 2013) (but for and proximate causation are
elements of a RICO claim); Berisford v. Sells, 331 N.E.2d 408, 409 (Ohio 1975) (actual and proximate causation are
elements of a negligence claim); City of Cincinnati v. Deutsche Bank Nat’l Tr. Co., 863 F.3d 474 (6th Cir. 2017) (In
Ohio, actual and proximate cause are elements for common law public nuisance); City of Cleveland, 615 F.3d 496,
503 (6th Cir. 2010) (actual and proximate causation apply to Plaintiffs’ OCPA claims).

                                                       -12-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 17 of 23. PageID #: 66673



Plaintiffs cannot simply lump all Defendants together; they must show that “the conduct of each

defendant was a substantial factor in producing the harm.” Pang v. Minch, 559 N.E.2d 1313, 1324

(Ohio 1990) (citation omitted, emphasis added); see also Holmes v. Sec. Investor Prot. Corp., 503

U.S. 258, 268 (1992).

        But after a year of discovery, Plaintiffs still cannot identify a single Ohio prescriber who

received and then relied upon any allegedly false marketing by the Teva Defendants to write a

medically inappropriate prescription, as opposed to exercising her own independent medical

judgment.30 Plaintiffs, in fact, have no testimony from a single Ohio doctor. Nor can they assume

that all Ohio prescribers who interacted with sales representatives for the Teva Defendants were

misled, given that prescribers write prescriptions for a variety of reasons other than marketing,

such as insurance coverage, prior experience, and individual patient characteristics. (Ex. 44, P.

Chintagunta Report, ¶¶ 41–49; Ex. 45, M. Rosenblatt Report, ¶ 55; see also Travelers Indem. Co.

v. Cephalon, Inc., 620 F. App’x 82, 87 (3d Cir. 2015) (“allegations that physicians attended

presentations and interacted with Cephalon sales representatives do not sufficiently demonstrate

that these interactions caused the physicians to write the prescriptions at issue”).

        In fact, Plaintiffs cannot show causation as to the Teva Defendants, given the TIRF REMS

Program and its stringent requirements. How could a prescriber be misled about the safety risks

or efficacy of Actiq or Fentora when she had to first pass an FDA-approved test on these very

issues, sign a Patient Agreement confirming such awareness, and certify in writing that she

“counseled [the] patient . . . about the risks, benefits, and appropriate use of the TIRF

medicine”? (Ex. 46.) This alone breaks the chain of causation.

        Unable to show causation, Plaintiffs have turned to multiple regression models that rely


30
  Ohio doctors must be aware of the labels and risks of the medicines that they prescribe, and must evaluate the
individualized risks for each patient prescribed an opioid medicine. Ohio Admin. Code Ch. 4731-29-01.

                                                     -13-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 18 of 23. PageID #: 66674



upon aggregate proof about the supposed impact of all detailing by opioid manufacturers

regardless of content (false or not), product, or whether the manufacturer is a defendant in this

case. This approach is legally flawed. See, e.g., In re Bextra & Celebrex Mktg. Sales Practices &

Prod Liab. Litig., 2012 WL 3154957, at *7 (N.D. Cal. 2012) (“Because ‘at least some doctors were

not misled by Defendants’ alleged misrepresentations . . . general proof of but-for causation is

impossible.’” (quoting UFCW Local 1776 v. Eli Lilly & Co., 620 F.3d 121, 135 (2d Cir. 2010)).

Regardless, their regression models fail to link any alleged injury to any misconduct by the Teva

or Actavis Generic Defendants.31 Indeed, Plaintiffs’ modeling simply assumes the outcome; it fails

to isolate any false marketing by any Teva Defendant, to apportion causation as to the Teva

Defendants, or even to show how they supposedly caused any improper prescribing.

        Lastly, even if Plaintiffs could tie a particular prescription to marketing by the Teva

Defendants through one of their experts (which they cannot), Plaintiffs present no evidence that

any such prescription was medically inappropriate, was diverted, or was misused or abused, in

such a way as to cause any of the harms for which Plaintiffs seek relief. In short, Plaintiffs simply

have no evidence of causation as to the Teva Defendants.

        C.       Plaintiffs Fail To Identify Any Injury Attributable To The Teva Defendants.

        To survive summary judgment, Plaintiffs must identify a cognizable injury that resulted

from the Teva Defendants’ marketing of Actiq and Fentora.32 They have not done so.

        There is no evidence that any Ohio patient who took one of the Teva Defendants’ opioid


31
   See Ex. 44, P. Chintagunta Report, ¶¶ 67–72 (Professor Rosenthal’s modeling is insufficient to demonstrate that
the Teva Defendants’ promotional efforts for Actiq and Fentora increased sales of prescription opioids); Ex. 47, J.
Ketcham Report & Errata, ¶¶ 178-180; see also id. ¶¶ 181-266 (Professor Rosenthal fails to establish a causal
relationship between alleged promotion of opioids and opioid shipments); Ex. 9, S. Nicholson Report, ¶¶ 29–49 (Dr.
Cutler’s estimates of harms attributable to prescription opioid shipments are flawed).
32
   See, e.g., Holmes v. Sec. Investor Prot. Corp., 502 U.S. 258, 268 (1992) (RICO); City of Cleveland v. Ameriquest
Mortg. Secs., Inc., 615 F.3d 496, 502 (6th Cir. 2010) (OCPA); City of Cincinnati v. Deutsche Bank Nat’l Tr. Co., 863
F.3d 474, 480 (6th Cir. 2017) (public nuisance); Berisford v. Sells, 331 N.E.2d 408, 409 (Ohio 1975) (negligence);
Picklesimer v. Balt. & O. R. Co., 84 N.E.2d 214, 217 (Ohio 1949) (fraud).

                                                       -14-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 19 of 23. PageID #: 66675



medicines became addicted or suffered some other harm. Indeed, Plaintiffs concede that they have

no such evidence because they “do not intend to assert . . . tha[t] any specific prescription was

unauthorized, medically unnecessary, ineffective, or harmful.” (ECF No. 1058, at 4 (emphasis

added).) Plaintiffs make no effort to trace any past or even potential future expenses to any specific

prescriptions (or suspicious orders) of Actiq or Fentora—much less link any prescriptions to any

false marketing. This complete failure to proof defeats Plaintiffs’ claims.

         Plaintiffs seem to contend that harm exists merely because individuals received off-label

prescriptions of Actiq and Fentora in the Counties.33 This argument fails. Both “[c]ourts and the

FDA have recognized the propriety and potential public value of unapproved or off-label drug

use.” Caronia, 703 F.3d at 153.34 The undisputed evidence shows that off-label Actiq or Fentora

prescriptions can benefit patients. (Ex. 45, M. Rosenblatt Report, ¶¶ 37–52 (identifying examples);

Ex. 11, E. Michna Report, ¶ 35 (same); Ex. 31, R. Portenoy Dep., 538:9:–19; Ex. 32, L. Webster

Dep., 288:7–16.) And Plaintiffs have no evidence that any patients were harmed from any off-

label prescription of Actiq or Fentora—much less that Plaintiffs incurred any downstream harm.

IV.      THE SOM CLAIMS (COUNTS II, IV–VII, IX–XI) AGAINST THE MOVING
         DEFENDANTS FAIL.

         Plaintiffs’ SOM theory seeks to hold the Moving Defendants legally responsible for failing

to identify, report, and stop suspicious orders.35 But the record is devoid of any evidence to support




33
   See Ex. 49, Summit County’s Am. Responses to Manufacturers’ First Set of Interrogs., at No. 9 (“prescriptions for
Actiq [and] Fentora. . . were prescribed to individuals who did not have a recent cancer diagnosis of cancer”).
34
   See also Buckman Co. v. Plaintiffs' Legal Comm., 531 U.S. 341, 351 n.5 (2001) (off-label prescribing “often is
essential to giving patients optimal medical care”); Use of Approved Drugs for Unlabeled Indications, FDA Drug
Bulletin, Vol. 12, No. 1, at 4–5 (Apr. 1982) (“accepted medical practice often includes drug use that is not reflected
in approved drug labeling”) (quoted in Weaver v. Reagen, 886 F.2d 194, 198 (8th Cir. 1989); Ex. 11, E. Michna
Report, ¶ 36.
35
   Plaintiffs’ RICO, nuisance, fraud, unjust enrichment, and civil conspiracy claims all rest upon this theory of liability
predicated upon Manufacturers’ SOM systems and reporting obligations. (Summit 3AC, ¶¶ 916, 921, 923, 929–33,
939, 959, 965–67, 986, 1012, 1046, 1054, 1056, 1059, 1062, 1103, 1126; Cuyahoga 3AC, ¶¶ 949, 963, 971–72, 999,
1007–09, 1027, 1053, 1062, 1085, 1089, 1097, 1099, 1105, 1168.)

                                                          -15-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 20 of 23. PageID #: 66676



those claims as to any of the Teva and Actavis Generic Defendants.

         As a threshold matter, Plaintiffs argue that manufacturers should have identified, reported,

and stopped orders placed by Ohio pharmacies.36 But as a general principle, manufacturers do

not sell and ship opioids directly to pharmacies. (Ex. 9, S. Nicholson Report, ¶¶ 234–35.) Such

orders are placed with distributors, which manufacturers rely upon to monitor their own customers.

(Id., ¶ 235.) And Plaintiffs identify no obligation under state or federal law to know and report

orders placed by the customers (i.e., pharmacies) of a manufacturer’s customers (i.e., distributors).

         Even DEA executives could not point to any statute, regulation, formal notice, or

correspondence communicating such a requirement.37 Asked directly whether DEA “ever provided

any kind of guidance to manufacturers informing them that they were to know their customers’

customer,” DEA representative Thomas Prevoznik flatly answered: “No, not to my knowledge.”38

         Regardless, Plaintiffs have no evidence of any breach of any diversion-related duty:

Plaintiffs cannot identify a single order (for shipment into the Counties) connected to the Teva or

Actavis Generic Defendants that was purportedly “suspicious.” This glaring failure alone defeats

their claims.      In fact, only one of Plaintiffs’ experts, Dr. Keller, purports to address this

fundamental issue, yet she conceded that she could not identify any actual “suspicious” orders (as

defined by DEA regulations)—only orders that she believes, after the fact, should have triggered

further investigation. (L. Keller Dep., Jun. 13, 2019, 335:14–336:7; id. 336:12–16.) And to do

that, she relied upon post-shipment data (chargeback and prescription data) pertaining to

completed shipments to pharmacies and fulfilled prescriptions by physicians. (Ex. 52, L. Keller




36
   March 4, 2019 Pls.’ Supplemental Rog Responses, at 310 (“Although Defendants have objected to Plaintiff’s prior
response to this Interrogatory as listing only transactions between distributors and pharmacists, Plaintiff contends that
those are suspicious orders as to which Defendants had duties to report and to (attempt to) stop shipment”).
37
   See Ex. 51, D. Ashley Dep., 159:20–161:8.
38
   See Ex. Ex. 35, T. Prevoznik Dep., 326:1–5.

                                                         -16-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 21 of 23. PageID #: 66677



Report, ¶¶ 32–33). Importantly, DEA representatives have made clear that there is no requirement

to obtain and consider such data as part of any SOM program.39

        Lastly, Plaintiffs cannot show causation: that any unreported “suspicious” orders placed

with the Teva or Actavis Generic Defendants caused Plaintiffs’ alleged harm. None of Plaintiffs’

experts even attempt to link any fulfilled “suspicious” order by (or any order placed with) the

Moving Defendants to any incident of addiction, crime, or overdose in the Counties—much less

any expense incurred by Plaintiffs to address such problems. Nor do any of Plaintiffs’ experts

attempt to attribute any injury whatsoever to the Moving Defendants on this theory.

V.      THE CLAIMS ARE BARRED BY THE APPLICABLE STATUTE OF
        LIMITATIONS.

        As explained in the pending Motion For Partial Summary Judgment On Statute Of

Limitations Grounds (ECF No. 1691), the longest limitations period for any of Plaintiffs’ claims

is five years. But there is no evidence of any wrongdoing by the Teva and Actavis Generic

Defendants after October 27, 2012. Plaintiffs have not adduced a single false statement made by

the Teva or Actavis Generic Defendants during the limitation window. In fact, Cephalon stopped

promoting Actiq in 2006, and the industry-leading safeguards of the TIRF REMS Program have

been in place since March 2012. Accordingly, Plaintiffs’ claims are time-barred.

VI.     CONCLUSION

        Summary judgment should be entered as to all claims against the Moving Defendants.




39
   See Ex. 30, K. Wright Dep., 220:20–221:3; see also Ex. 51, D. Ashley Dep., 172:20–173:12; see also Ex. 35, T.
Prevoznik, 347:1–5; see also Ex. 53, J. Rannazzisi Dep., 120:6–21.

                                                     -17-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 22 of 23. PageID #: 66678



Dated: June 28, 2019                Respectfully submitted,

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                                     -18-
Case: 1:17-md-02804-DAP Doc #: 1891-2 Filed: 07/19/19 23 of 23. PageID #: 66679




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 28, 2019, the Teva and Actavis Generic

Defendants’ Motion for Summary Judgment, along with the Memorandum of Law, proposed

Order, exhibits, and summary fact sheet, were served via email on all attorneys of record

consistent with the June 24, 2019 Order setting forth Directions Regarding Filing of Briefs

Under Seal.

                                                     /s/ Steven A. Reed
                                                     Steven A. Reed




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